21 F.3d 423NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Raphael MENDEZ, Petitioner Appellant,v.John T. HADDEN, Warden, Respondent Appellee.
    No. 93-7347.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 17, 1994.Decided:  March 14, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-93-380-HC-F).
      Raphael Mendez, appellant pro se.
      Barbara Dickerson Kocher, Office of the United States Attorney, Raleigh, North Carolina, for appellee.
      E.D.N.C.
      AFFIRMED.
      Before RUSSELL, MURNAGHAN, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2241 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Mendez v. Hadden, No. CA-93-380-HC-F (E.D.N.C. Nov. 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    